   Case 1:20-cv-02702-RM-SKC Document 125-5 Filed 02/14/22 USDC Colorado Page 1 of 3



Benjamin DeGolia

From:           Skip Spear <Skip.Spear@coag.gov>
Sent:           Monday, February 7, 2022 5:26 PM
To:             Benjamin DeGolia; Ciara Anderson; Craig Silverman; Guesno, Jacqueline R. (Denver); Jeff Pagliuca;
                Matthew Cron; Lauren Davison; Patrick Warwick-Diaz; Garcia, Emely (Denver); Heather Bolton
Subject:        RE: Schiller v. CSU - CSU ESI Search Procedures



Good afternoon Benjamin,

Following up on our prior communications, the following individuals were instructed to provide
all information in their possession or control, including electronic information, relating to
Katelyn Schiller:

Steve Cottingham
Joe Parker
Ashley Vigil
Audrey Swenson
Jody Donovan
Scott Harris
Sean Fitzpatrick
Ramsey Crochet
David Crum
Amy Kuehl
Brian James
Jess Anderson
Bret Wagner
Monica Rivera

In addition, the following individuals were instructed to identify and provide all electronic
information pertaining to Katelyn Schiller for the persons identified above to the extent they
provided support services for those persons:

Joe Volesky
Joe Collins
Greg Diekman
Neal Lujan
Joe Collins
Greg Diekman

Thank you.

Skippere “Skip” Spear
Pronouns: he, him, his
Senior Assistant Attorney General
Colorado Department of Law

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   Case 1:20-cv-02702-RM-SKC Document 125-5 Filed 02/14/22 USDC Colorado Page 2 of 3


State Services Section, Higher Education Unit
1300 Broadway, 6th Floor
Denver, Colorado 80203
(720) 508-6140




From: Benjamin DeGolia <bd@rmlawyers.com>
Sent: Monday, January 31, 2022 5:03 PM
To: Skip Spear <Skip.Spear@coag.gov>; Ciara Anderson <ca@rmlawyers.com>; Craig Silverman
<csilverman@springersteinberg.com>; Guesno, Jacqueline R. (Denver) <Jacqueline.Guesno@jacksonlewis.com>; Jeff
Pagliuca <jpagliuca@hmflaw.com>; Matthew Cron <mc@rmlawyers.com>; Lauren Davison
<Lauren.Davison@coag.gov>; Patrick Warwick‐Diaz <Patrick.Warwick‐Diaz@coag.gov>; Garcia, Emely (Denver)
<Emely.Garcia@jacksonlewis.com>; Heather Bolton <hbolton@springersteinberg.com>
Subject: RE: Schiller v. CSU ‐ CSU ESI Search Procedures

Hi Skip,

A party generally has 30 days to respond to discovery requests, you are correct. The court’s order requiring CSU to
disclose the search terms and custodians it used to search for responsive ESI was not itself a discovery request, however.
If anything, the court’s ordered disclosure falls within Rule 26(e)(1)(A)’s requirement that a response be supplemented
or corrected “in a timely manner.” We are confused as to why CSU would need 30 days to respond to this simple query.
With that said, if you can commit to providing this information no later than Sunday, February 6 (30 days from the
court’s order), we will not go to the court to seek remedies under F.R.C.P. 37(b)(2)(A). If we have not received this
information by February 7th, we will be compelled to do so.

All best,

Benjamin DeGolia
he/him/his
RATHOD | MOHAMEDBHAI LLC
2701 Lawrence Street, Suite 100
Denver, Colorado 80205
(303) 578-4400 (t) / (720) 221-4607 (d) / (303) 578-4401 (f)
bd@rmlawyers.com / rmlawyers.com




From: Skip Spear <Skip.Spear@coag.gov>
Sent: Monday, January 31, 2022 12:09 PM
To: Benjamin DeGolia <bd@rmlawyers.com>; Ciara Anderson <ca@rmlawyers.com>; Craig Silverman
<csilverman@springersteinberg.com>; Guesno, Jacqueline R. (Denver) <Jacqueline.Guesno@jacksonlewis.com>; Jeff
Pagliuca <jpagliuca@hmflaw.com>; Matthew Cron <mc@rmlawyers.com>; Lauren Davison
<Lauren.Davison@coag.gov>; Patrick Warwick‐Diaz <Patrick.Warwick‐Diaz@coag.gov>; Garcia, Emely (Denver)
<Emely.Garcia@jacksonlewis.com>; Heather Bolton <hbolton@springersteinberg.com>
Subject: RE: Schiller v. CSU ‐ CSU ESI Search Procedures

Good afternoon Benjamin.

My understanding is that a party generally has 30 days to respond to discovery. However, please
correct me if I am mistaken.

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   Case 1:20-cv-02702-RM-SKC Document 125-5 Filed 02/14/22 USDC Colorado Page 3 of 3



Thank you.

Skippere “Skip” Spear
Pronouns: he, him, his
Senior Assistant Attorney General
Colorado Department of Law
State Services Section, Higher Education Unit
1300 Broadway, 6th Floor
Denver, Colorado 80203
(720) 508-6140




From: Benjamin DeGolia <bd@rmlawyers.com>
Sent: Friday, January 28, 2022 11:30 AM
To: Skip Spear <Skip.Spear@coag.gov>; Ciara Anderson <ca@rmlawyers.com>; Craig Silverman
<csilverman@springersteinberg.com>; Guesno, Jacqueline R. (Denver) <Jacqueline.Guesno@jacksonlewis.com>; Jeff
Pagliuca <jpagliuca@hmflaw.com>; Matthew Cron <mc@rmlawyers.com>; Lauren Davison
<Lauren.Davison@coag.gov>; Patrick Warwick‐Diaz <Patrick.Warwick‐Diaz@coag.gov>; Garcia, Emely (Denver)
<Emely.Garcia@jacksonlewis.com>; Heather Bolton <hbolton@springersteinberg.com>
Subject: RE: Schiller v. CSU ‐ CSU ESI Search Procedures

Good morning Skip,

We still have not heard back from you regarding CSU's ESI search procedures, despite several inquiries. As you know,
the Court ordered CSU to disclose its search procedures on January 7. We are unclear as to why we have not heard
back from you on this issue, but it is important for us to have this information to prepare for mediation. If we do not
heard from you by close of business on Monday, January 31, we will regrettably be compelled to seek relief from the
Court per F.R.C.P. 37(b)(2)(A).

Kind regards,

Benjamin DeGolia
he/him/his
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